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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)
KLEHR HARRISON HARVEY
BRANZBURG, LLP
(A Pennsylvania Limited Liability Partnership)           Case No.: 23-18880 (ABA)
Carol Ann Slocum, Esquire
10000 Lincoln Drive East, Suite 201                      Chapter: 7
Marlton, New Jersey 08053
(856) 486-6961                                           Judge: Andrew B. Altenburg, Jr.
cslocum@klehr.com
Attorneys for Landcor Holdings, L.P.

In re:

EVESHAM MORTGAGE, LLC

                                       Debtor

                                   NOTICE OF APPEARANCE

         Please take notice that in accordance with Fed. R. Bankr. P. 9010(b) the undersigned

enters an appearance in this case on behalf of Landcor Holdings, L.P. Request is made that the

documents filed in this case and identified below be served on the undersigned at this address:

         ADDRESS:      Carol Ann Slocum, Esquire
                       Klehr Harrison Harvey Branzburg, LLP
                       10000 Lincoln Drive East, Suite 201
                       Marlton, NJ 08053

         DOCUMENTS:

          All notices entered pursuant to Fed. R. Bankr. P. 2002.

          All documents and pleadings of any nature.

                                                     KLEHR HARRISON HARVEY
                                                      BRANZBURG, LLP


Dated: November 7, 2023                              By: /s/ Carol Ann Slocum




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